      Case 4:22-cr-00612      Document 459        Filed on 11/08/23 in TXSD        Page 1 of 7




                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF TEXAS
                                  HOUSTON DIVISION

                                                          §
 UNITED STATES OF AMERICA                                 §
                                                          §
 v.                                                       §          Case No. 22-cr-00612
                                                          §
                                                          §
 MITCHELL HENNESSEY,                                      §
                                                          §
         Defendant.                                       §

                      MITCHELL HENNESSEY’S REPLY TO
                GOVERNMENT’S RESPONSE TO MOTION TO SUPPRESS

         Mr. Hennessey files this reply to address a repeated falsehood in the government’s response

(ECF 456) to Mr. Constantinescu’s motion to suppress (ECF 451). The government asserts: “In

May 2023, however, counsel for Defendant Hennessey repeatedly requested that the United States

produce all social media messages of Defendant Hennessey, beyond what had been seized as part

of the Case File Return and already produced.” ECF 456 at 5. This is false.

         Counsel for Mr. Hennessey never requested any materials beyond what the government

seized. Instead, counsel for Mr. Hennessey repeatedly requested that the government confirm that

it had produced “all Rule 16 material for Mr. Hennessey,” including “[t]he substance of any oral

statements made by Mr. Hennessey” and “[c]opies of any written or recorded statements made by

Mr. Hennessey.” See Ex. 1. While counsel for Mr. Hennessey repeatedly requested confirmation

that the government had met its obligations to produce all Rule 16 materials, the government

repeatedly ignored or avoided directly answering the question. See id.

         After four months of repeated requests, on April 4, 2023, Mr. Hennessey requested that the

government “please confirm whether or not you have produced all of Mr. Hennessey’s social

media messages in your possession” and also requested that the government identify the unnamed


MITCHELL HENNESSEY’S REPLY TO
GOVERNMENT’S RESPONSE TO MOTION TO SUPPRESS– PAGE 1
   Case 4:22-cr-00612        Document 459        Filed on 11/08/23 in TXSD       Page 2 of 7




individuals referenced in the superseding indictment, information the government continued to

withhold. See id. (emphasis added). The government responded on April 6, 2023, agreeing to

provide the requested information about the unnamed individuals and stating, “I believe we have

produced all of Mr. Hennessey’s messages that were seized.” See id. On April 7, 2023, counsel for

Mr. Hennessey responded, “Thank you for agreeing to provide the requested information[,]” and

requested clarification regarding the time zones in which certain data was produced. See id.

       Nearly a month later, on May 4, 2023, counsel for Mr. Hennessey followed up on several

outstanding discovery requests and specifically requested confirmation that the government had

produced all Rule 16 materials. Id. (highlight added).




MITCHELL HENNESSEY’S REPLY TO
GOVERNMENT’S RESPONSE TO MOTION TO SUPPRESS– PAGE 2
   Case 4:22-cr-00612        Document 459        Filed on 11/08/23 in TXSD         Page 3 of 7




       The following day, April 5, 2023, the government sent a series of disjointed emails, but

still avoided providing the requested information or directly answering whether it had complied

with its obligations under Rule 16. See Ex. 2. Rather, the government stated that it intended to

produce materials outside the scope of the warrants—materials the government acknowledged the

prosecution team had no right to possess and that did not constitute Rule 16 materials. See id. Mr.

Hennessey never requested those materials and did not agree to their production.




MITCHELL HENNESSEY’S REPLY TO
GOVERNMENT’S RESPONSE TO MOTION TO SUPPRESS– PAGE 3
   Case 4:22-cr-00612        Document 459         Filed on 11/08/23 in TXSD     Page 4 of 7




       As counsel for Mr. Hennessey pointed out in numerous emails requesting discovery, Rule

16 includes more than social media messages. Rule 16 includes a defendant’s recorded statements,

and counsel for Mr. Hennessey had reason to believe that the government had not produced all

recorded statements in its possession. First, when Mr. Hennessey was arrested, FBI agents spoke

to and questioned him throughout the entire day, but the government only produced about two

hours of recording of Mr. Hennessey that day, much of which was just a recording of him sitting

silently alone in a room. Second, the superseding indictment repeatedly references Mr.

Hennessey’s podcast, for which Mr. Hennessey recorded hundreds of hours of video and audio,

but the government had only produced isolated excerpts and segments of the podcast.

       As the emails demonstrate, Mr. Hennessey’s counsel never requested materials outside the

scope of the warrants. Nonetheless, counsel for the government chose to ignore the Fourth

Amendment and produce to all defendants material the government knew was outside the scope

of the warrants and that it did not have legal authority to produce.

       Immediately after the government made this illegal production, counsel for Mr. Hennessey

emailed the government stating unequivocally that Mr. Hennessey never requested materials

outside the scope of the warrant. See Ex. 3. The government never responded.




MITCHELL HENNESSEY’S REPLY TO
GOVERNMENT’S RESPONSE TO MOTION TO SUPPRESS– PAGE 4
   Case 4:22-cr-00612        Document 459        Filed on 11/08/23 in TXSD          Page 5 of 7




       Now, in an attempt to excuse its own illegal activity, the government goes so far as to assert

that other defendants “should lodge their complaints with Defendant Hennessey and his request

for those materials, not with the United States.” ECF 456 at 7 (emphasis in original). But the

government knows that Mr. Hennessey never requested any materials outside the scope of the

warrants. Mr. Hennessey requested only that the government produce Rule 16 materials, yet the

government itself concedes that the materials it produced are not Rule 16 materials. See Ex. 2 (“It

is not Rule 16 discovery….”).




MITCHELL HENNESSEY’S REPLY TO
GOVERNMENT’S RESPONSE TO MOTION TO SUPPRESS– PAGE 5
   Case 4:22-cr-00612         Document 459        Filed on 11/08/23 in TXSD         Page 6 of 7




       The government’s assertion that Mr. Hennessey’s counsel requested materials beyond the

scope of the warrants is simply not true. It is a misrepresentation to the Court.

                                              Respectfully submitted,


                                              JACKSON WALKER LLP

                                              /s/ Laura M. Kidd Cordova
                                              Laura M. Kidd Cordova
                                              State Bar No. 24128031
                                              lcordova@jw.com
                                              Michael J. Murtha
                                              State Bar No. 24116801
                                              mmurtha@jw.com

                                              1401 McKinney St, Suite 1900
                                              Houston, Texas 77010
                                              (713) 752-4449
                                              (713) 752-4221 (Facsimile)

                                              ATTORNEYS FOR DEFENDANT
                                              MITCHELL HENNESSEY




MITCHELL HENNESSEY’S REPLY TO
GOVERNMENT’S RESPONSE TO MOTION TO SUPPRESS– PAGE 6
   Case 4:22-cr-00612      Document 459       Filed on 11/08/23 in TXSD       Page 7 of 7




                               CERTIFICATE OF SERVICE

       I hereby certify that on November 8, 2023, a true and correct copy of the foregoing was
served electronically on all persons via the Court’s CM/ECF system.

                                           /s/ Laura M. Kidd Cordova
                                           Laura M. Kidd Cordova




MITCHELL HENNESSEY’S REPLY TO
GOVERNMENT’S RESPONSE TO MOTION TO SUPPRESS– PAGE 7
